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  1 Erik S. Syverson (SBN 221933)
        erik@syversonlaw.com
  2 Steven T. Gebelin (SBN 261507)
        steven@syversonlaw.com
  3 Scott M. Lesowitz (SBN 261759)
        scott@syversonlaw.com
  4 SYVERSON, LESOWITZ & GEBELIN LLP
      8383 Wilshire Boulevard, Suite 520
  5 Beverly Hills, California 90211
      Telephone: (310) 341-3072
  6 Facsimile: (310) 341-3070

  7 Attorneys for Plaintiff Dr. Jonathan C. Ellis

  8 Ashley I. Kissinger (SBN 193693)
        kissingera@ballardspahr.com
  9 BALLARD SPAHR LLP
      1225 17th Street, Suite 2300
 10 Denver, CO 80202
      Telephone: (303) 376-2407
 11 Facsimile: (303) 296-3956

 12 Scott S. Humphreys (SBN 298021)
        humphreyss@ballardspahr.com
 13 BALLARD SPAHR LLP
      2029 Century Park East, Suite 800
 14 Los Angeles, CA 90067
      Telephone: (424) 204-4400
 15 Facsimile: (424) 204-4350

 16 Attorneys for Defendant DUN & BRADSTREET, INC.

 17
                                   UNITED STATES DISTRICT COURT
 18                               CENTRAL DISTRICT OF CALIFORNIA
 19
      DR. JONATHAN C. ELLIS, an individual Case No.: 2:18-cv-10077-MRW
 20

 21                      Plaintiff,                 [Assigned to the
                                                    Honorable Michael R. Wilner]
 22            vs.
                                                    JOINT REPORT OF RULE 26
 23 DUN AND BRADSTREET, INC., a                     MEETING
      Delaware Corporation, and DOES 1
 24
      through 10, inclusive,                        Case Management Conference
                                                    Date:         February 13, 2019
 25
               Defendants.                          Time:         11:00 am
                                                    Courtroom: 550
 26                                                 Roybal  Federal Building and Courthouse
                                                    5th Floor
 27                                                 255 E. Temple Street
                                                    Los Angeles, CA 90012
 28


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  1            Plaintiff Dr. Jonathan C. Ellis (“Plaintiff” or “Ellis”) and Defendant Dun &
  2 Bradstreet, Inc. (“Defendant” or “D&B”) by and through their undersigned counsel

  3 of record, respectfully submit this Joint Rule 26(f) Report following counsels’

  4 telephonic planning meeting on January 25, 2019.

  5 1. Nature and Basis of Claims and Defenses

  6            Plaintiff’s statement:
  7            Plaintiff, a distinguished and experienced Beverly Hills gastroenterologist,
  8 has sued Defendant for its publication of an egregious and completely false report

  9 made through Defendant’s credit reporting service to multiple persons in and

 10 considering business relationships with Dr. Ellis. Specifically, Defendant’s false

 11 publication claimed (without basis) that Dr. Ellis had been arrested and charged with

 12 multiple crimes based in pedophilia and arranging for sex with a minor. Defendant

 13 specifically noted that such arrest was a “Special Event” having a substantial

 14 negative impact on the creditworthiness of the medical corporation through which

 15 Dr. Ellis conducts his respected and well-regarded gastroenterology practice and for

 16 which Dr. Ellis serves as CEO.

 17            There was absolutely no factual basis to support Defendant’s linking of any
 18 arrests to Dr. Ellis or the medical company in which his practice resides, and the

 19 general and special damages to his reputation and business prospects from the
 20 outrageous and toxic defamation are immense. As a result, Plaintiff seeks to recover

 21 general, special, and punitive damages for Defendant’s baseless conduct.

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  1            Defendant’s statement:
  2            Dun & Bradstreet, Inc., founded in 1841, is the global leader in commercial
  3 data and analytics. The company’s database contains more than three hundred

  4 million global business records.

  5            Plaintiff Jonathan Ellis, a physician, is the CEO of the Doheny Endosurgical
  6 Center, and he is identified as such in Defendant’s credit report on that business (the

  7 “Doheny Report”). In April 2018, Defendant added to the end of the Doheny

  8 Report this notation: “04/17/2018 – Criminal Proceedings: According to a

  9 published report dated Apr. 12, 2018, Jonathon Ellis was arrested and charged with

 10 four felony counts of distributing or showing pornography to a minor and one

 11 misdemeanor count of arranging a meeting with a minor for lewd purposes.” That

 12 notation is factually accurate; however, it concerns a different Los Angeles-based

 13 physician named Jonathon Ellis.

 14             Plaintiff’s Complaint is barred, as a matter of law, by the mercantile agency
 15 privilege because Defendant published the Doheny report without malice. Because

 16 Plaintiff’s claims are based entirely on Dun & Bradstreet’s exercise of its

 17 constitutionally protected right of free speech, the Complaint is additionally subject

 18 to a special motion to strike under California’s so-called Anti-SLAPP Statute, Cal.

 19 Civ. Proc. Code § 425.16. There can be no dispute that the Doheny Report was
 20 published in a place open to the public in connection with an issue of public interest,

 21 and that Defendant acted without malice in referencing in it the published report that

 22 criminal proceedings had been initiated against another Dr. Jonathon Ellis.

 23 Defendant’s report is therefore protected, as a matter of law, by the mercantile

 24 agency privilege and is subject to immediate dismissal, with prejudice, pursuant to

 25 the anti-SLAPP statute, which also entitles Defendant to recover its attorneys’ fees

 26 and costs incurred in connection with litigating its anti-SLAPP motion.
 27

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  1 2. Jurisdiction, Venue, and Service Issues

  2            a.       Subject Matter Jurisdiction: The parties agree that this Court has
  3 jurisdiction over the Plaintiff’s claims pursuant to 28 U.S.C. §1332, as the parties

  4 are citizens of different states and the allegations place the amount in controversy in

  5 excess of $75,000, exclusive of interest and costs.

  6            b.       Personal Jurisdiction and Venue: The parties agree that venue in this
  7 district is appropriate on Plaintiff’s claims pursuant to U.S.C. § 1391(b), as the

  8 alleged harms occurred in this District, and all parties are subject to Court’s personal

  9 jurisdiction in this matter.

 10            c.       Service of Parties: Plaintiff served Defendant with the Complaint on
 11 December 6, 2018. Defendant answered the Complaint on January 17, 2019.

 12 3. Prior, Pending, and/or Anticipated Motions

 13            a.       Prior and Pending Motions: Defendant previously sought and
 14 received an order of the Court granting a 21-day extension of time to answer the

 15 Complaint. (Dkt. No. 13.) The Court also entered a stipulated order directing the

 16 Clerk of Court to strike and remove from the public record an exhibit that Plaintiff

 17 had submitted to the Court in connection with Defendant’s Motion for Extension of

 18 Time. (Dkt. No. 15.)

 19            b.       Anticipated Motions:
 20            Plaintiff’s statement: Although there are no current plans for any specific
 21 motions, Plaintiff may file a motion for summary judgment as appropriate to narrow

 22 any of the claims or defenses in dispute, or discovery motions to compel if

 23 absolutely necessary.

 24            Defendant’s statement:
 25                   i.      Anti-SLAPP Motion and Motion for Attorney’s Fees
 26            Defendant intends to file a special motion to strike Plaintiff’s complaint under
 27 the California Anti-SLAPP statute, Cal. Civ. Proc. Code § 425.16, at the earliest

 28 possible time, and by no later than April 1, 2019. If Defendant prevails on the


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  1 motion it will file a motion for attorney’s fees and costs under the anti-SLAPP

  2 statute.

  3                  ii.     Discovery Motions
  4            As set forth in more detail at Section 5.d below, to avoid unnecessary motion
  5 practice, Defendant respectfully requests that the Court exercise early supervisory

  6 control over a phased discovery process in this case. Plaintiff has already served

  7 facially improper discovery requests, and has threatened to abuse the subpoena

  8 power to notice depositions of nonparties whose testimony has no conceivable

  9 relevance to any issue in this case. Defendant accordingly anticipates significant

 10 discovery disputes in this case, including a motion for a protective order if a

 11 resolution cannot be reached informally between the parties by stipulation filed with

 12 the Court.

 13            There are two issues of particular concern, both arising from Plaintiff’s
 14 counsel’s pursuit of a separate case against Dun & Bradstreet. Plaintiff’s counsel

 15 has been using this defamation lawsuit as a platform to troll on LinkedIn (and

 16 perhaps elsewhere) for potential clients interested in bringing a meritless, separate

 17 class action against Dun & Bradstreet alleging that it engages in false advertising

 18 practices.

 19            First, Plaintiff’s counsel is abusing the tools of discovery in this case to look
 20 for documents and information that could be used to support that unrelated and

 21 meritless future action. For example, Plaintiff’s counsel is making public claims on

 22 LinkedIn that Dun & Bradstreet’s statements about its use of “cloud” technology are

 23 false. In this defamation action, Plaintiff’s Request for Admission Nos. 65 and 66

 24 ask Defendant to “Admit that you do not have a data cloud” and “Admit that you

 25 refer to your database as a cloud.” Document Request No. 49 (of 100) asks for “All

 26 documents related to objections to any claim or marketing of yours asserting that
 27 you have a ‘data cloud.’” These requests and many others have absolutely nothing

 28 to do with the defamation claims at issue – they are nothing more than an improper


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  1 fishing expedition into Dun & Bradstreet’s protected trade secrets, proprietary

  2 information, and business practices.

  3            Second, Plaintiff’s counsel is harassing and threatening to depose nonparties –
  4 whose testimony is wholly irrelevant in this case – in a transparent effort to extract a

  5 high settlement. In the past week, Plaintiff’s counsel has repeatedly threatened to

  6 serve deposition subpoenas on high level executives at three entities currently

  7 involved in a private equity purchase transaction of Dun & Bradstreet. Plaintiff’s

  8 counsel is well aware that these individuals do not have any testimony that could

  9 conceivably bear upon any issue in this case. These third parties have already

 10 objected to what they viewed as Plaintiff’s counsel’s “inappropriate” telephone

 11 calls, and have asked the undersigned to advise Plaintiff’s counsel that his calls were

 12 inappropriate and that any further communications by him should be directed to the

 13 undersigned. Plaintiff’s counsel refused to abide by this request. Last Saturday,

 14 February 2, he sent an email to counsel for the investor group, (a) advising of his

 15 intent to serve, this week, a deposition subpoena on a high level executive in the

 16 investor group; (b) advising of Plaintiff’s current settlement demand in the instant

 17 case; and (c) threatening to increase that settlement demand by specific increments

 18 if this case is not settled immediately.

 19            These ongoing abuses of the subpoena power and other discovery tools in this
 20 case appear to be designed to harass non-parties and to impose significant

 21 unnecessary expense on Defendant in the hope of leveraging a quick and high

 22 settlement of this case before Defendant can bring its anti-SLAPP motion.

 23 Defendant accordingly requests that the Court exercise its authority to limit

 24 discovery as set forth in Section 5 below, and assist the parties in resolving these

 25 issues without the need for contentious motion practice.

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  1                 iii.     Summary Judgment Motion
  2            While Defendant maintains that the entire Complaint should be dismissed
  3 with prejudice under the anti-SLAPP statute, in the event that Plaintiff’s case

  4 survives the anti-SLAPP motion, Defendant anticipates filing a motion for summary

  5 judgment at the conclusion of discovery.

  6 4. Expected Amendments, Changes to Pleadings, or Additional Parties

  7            Plaintiff’s statement: Plaintiff has no plans at this time to amend or change
  8 the pleadings, as Defendant has confirmed that it is the appropriate corporate party

  9 for this action. As set forth in the schedule below, Plaintiff proposes a Monday,

 10 April 15, 2019 deadline (60 days after the scheduling conference) to file motions to

 11 amend pleadings and/or name additional parties.

 12            Defendant’s statement: Defendant does not foresee a need to amend its
 13 Answer but reserves the right to do so should discovery indicate that it has

 14 additional defenses to Plaintiff’s claims. As set forth in Section 5.d below,

 15 Defendant plans to file an anti-SLAPP motion and requests that discovery initially

 16 be limited to the issues raised by the anti-SLAPP motion. If the Court adopts

 17 Defendant’s suggested plan for efficient management of this case, the deadline for

 18 amending the pleadings and adding parties will be set after resolution of

 19 Defendant’s anti-SLAPP motion (if then necessary), as additional discovery will be
 20 needed to determine whether additional parties should be added to the case.

 21 5. Discovery Subjects and Plan

 22            a.       Initial Disclosures: The parties propose making initial disclosures
 23 within two weeks of the scheduling conference, i.e. on or before February 9, 2019.

 24 The parties have agreed that Defendant will make its disclosures under FRCP

 25 26(a)(1)(A)(iv) (insurance agreement(s)) only after the Court has entered a

 26 protective order in this action.
 27            b.       Discovery Taken to Date:
 28


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  1            Plaintiff’s statement: Plaintiff served Defendant with a first set of written
  2 discovery on January 26, 2019.

  3            Defendant’s statement: Defendant requested, during the parties’ Rule 26(f)
  4 conference held on Friday, January 25, 2019, that Plaintiff refrain from commencing

  5 discovery until this Court’s February 13 conference so that the parties could discuss

  6 with the Court how discovery should proceed given Defendant’s impending anti-

  7 SLAPP motion. Plaintiff refused and served discovery electronically the next day,

  8 Saturday, January 26. See also Section 3.b.ii supra.

  9            c.       Subjects of Discovery:
 10            Plaintiff’s statement: Plaintiff does not believe there is any need to phase or
 11 otherwise place ex ante limits on discovery during the conduct of the case. Plaintiff

 12 expects to conduct discovery on the claims and defenses at issues, including topics

 13 such as:

 14                      i. The facts surrounding Defendant’s publication of the report at issue,
 15                          including facts such as:
 16                               1. the source(s) of Defendant’s statement that Dr. Ellis was
 17                                   arrested;
 18                               2. the persons involved in the publication of the report;
 19                               3. the matching or verification steps taken by or for Defendant
 20                                   relating to the report;
 21                               4. the persons to whom Defendant published the report;
 22                               5. Plaintiff’s damages, including the impact of the publication
 23                                   on Plaintiff’s reputation and business relationships; and
 24                               6. the persons whom Defendant is aware have viewed the report.
 25                     ii. Defendant’s policies and procedures regarding the accuracy and/or
 26                          verification of information it publishes in its reports, including:
 27                               1. information relating to known error rates;
 28                               2. fact checking costs and benefits;

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  1                               3. marketing of its reports, including to the subject businesses;
  2                               4. marketing of its reports for credit evaluation by businesses in
  3                                   or considering economic relationships;
  4                               5. the variance of such policies between different types and sizes
  5                                   of subjects of its reports;
  6                    iii. Defendant’s defenses and denials of the claims at issue
  7                    iv. Defendant’s financial condition, ability to pay punitive damages,
  8                          and other factors relating to punitive damages;
  9            Defendant’s statement: Defendant does not anticipate needing discovery to
 10 litigate its anti-SLAPP motion. As set forth in Section 5.d below, Defendant

 11 requests that any discovery taken by Plaintiff initially be limited by the Court to the

 12 issues raised by the anti-SLAPP motion. If this case survives the anti-SLAPP

 13 motion, Defendant expects to conduct discovery, including taking the depositions of

 14 Plaintiff and others, on:

 15                  i. The issue of whether Plaintiff is a public figure;
 16                 ii. Plaintiff’s alleged pecuniary and nonpecuniary damages and any
 17                     evidence demonstrating the lack thereof;
 18                iii. Lack of foreseeability of Plaintiff’s alleged damages;
 19                iv. Third party liability for Plaintiff’s alleged damages;
 20                 v. Plaintiff’s own liability for his alleged damages;
 21                vi. Other causes of Plaintiff’s alleged damages;
 22               vii. Plaintiff’s communications with third parties about the Doheny Report
 23                     and about his alleged damages; and
 24              viii. Plaintiff’s failure to mitigate his alleged damages, including his refusal
 25                     to permit Defendant to assist in mitigating those alleged damages.
 26               d. Proposed Discovery Plan pursuant to Fed. R. Civ. P. 26(f):
 27            Plaintiff’s statement: Plaintiff proposes a six-month fact discovery period to
 28 commence following the exchange of initial disclosures on February 9, 2019,


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   1 followed by a three-month expert discovery period, as set forth in the Proposed

   2 Deadline Chart below.

   3            Defendant’s statement:
   4            Defendant’s proposes that discovery should first proceed only on the issues
   5 raised by Defendant’s impending anti-SLAPP motion, which Defendant intends to

   6 file at the earliest possible opportunity on or before April 1, 2019. Such limited

   7 discovery is expressly contemplated by the anti-SLAPP statute,1 which was enacted

   8 by the California legislature for the purpose of providing a “fast and inexpensive

   9 unmasking and dismissal” of meritless lawsuits that implicate the constitutional

  10 right of freedom of speech. Ludwig v. Superior Court, 27 Cal. App. 4th 8, 16

  11 (1995); accord Braun v. Chronicle Publ’g Co., 52 Cal. App. 4th 1036, 1042 (1997)

  12 (anti-SLAPP statute is “designed to nip SLAPP litigation in the bud”). Defendant

  13 will support its motion with declarations that will establish that Defendant is entitled

  14 to judgment as a matter of law because the conduct about which Plaintiff complains

  15 is privileged under the mercantile agency privilege (a particular application of the

  16 common interest privilege), and Defendant did not act with malice as is required to

  17 overcome that privilege.

  18            Defendant recognizes that Plaintiff may wish to submit evidence in
  19 opposition to Defendant’s anti-SLAPP motion. To effectuate the purposes of the
  20 anti-SLAPP statute, and to avoid unnecessary delay and expense in this case,

  21 Defendant respectfully requests that the Court (1) phase discovery to permit limited

  22 discovery only on the issues raised by Defendant’s anti-SLAPP motion before that

  23 motion is resolved; and (2) exercise supervisory control over the discovery process

  24 throughout the case.

  25            Specifically, Defendant requests that the Court control and supervise the
  26 litigation of Defendant’s anti-SLAPP motion as follows:
  27
       1
  28       See Cal. Civ. Proc. Code § 425.16(g).

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   1                 • Impose, at the Scheduling Conference, a stay on all discovery – other
   2                     than initial disclosures required under FRCP 26(a)(1) – until the anti-
   3                     SLAPP motion is fully resolved, including the exhaustion of appellate
   4                     remedies.
   5                 • Defendant will file its anti-SLAPP motion on or before April 1, 2019.
   6                 • By April 8, 2019, Plaintiff shall advise Defendant whether it believes
   7                     discovery is necessary for it to respond to the motion and, if so, what
   8                     specific discovery is requested. The parties will then endeavor to agree
   9                     on the scope of discovery for Plaintiff to respond to the anti-SLAPP
  10                     motion. In the event the parties cannot agree, they will first contact the
  11                     Court for a telephonic conference pursuant to the Court’s Civil
  12                     Procedures in an effort to avoid discovery motions practice.
  13                 • Assuming the parties have agreed to the scope of anti-SLAPP
  14                     discovery by April 15, 2019, the parties will then have until July 26,
  15                     2019 to complete anti-SLAPP-related discovery. [If the parties cannot
  16                     agree on the appropriate scope of anti-SLAPP discovery, and motions
  17                     practice ensues, the parties will have 3.5 months to complete discovery
  18                     after the Court’s final order resolving the discovery dispute.] Either
  19                     party may file a motion to extend the time for discovery if necessary.
  20                 • Plaintiff’s opposition to the anti-SLAPP motion is due August 5, 2019,
  21                     and Defendant’s reply is due August 26, 2019. [In the event of anti-
  22                     SLAPP discovery motions practice, Plaintiff’s opposition is due 10
  23                     days after the close of anti-SLAPP discovery, and Defendant’s reply is
  24                     due 21 days thereafter, unless ordered otherwise.]
  25                 • The hearing on the anti-SLAPP motion will be held on September 16,
  26                     2019. [In the event of anti-SLAPP discovery motions practice, the
  27                     hearing will be set for a later date.]
  28


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   1                 • Should the case continue beyond the Court’s resolution of the anti-
   2                     SLAPP motion, the Court will convene a Scheduling Conference at the
   3                     expiration of the deadline for the parties to exhaust their appellate
   4                     remedies.2 Defendant anticipates that any discovery then remaining
   5                     will be limited to discovery on damages and third party liability.
   6               e. Proposed Limitations or Modifications of the Discovery Rules-
   7
                      Limitations, ESI, Special Procedures, or other Orders:

   8            Plaintiff does not request any changes to the limitations on discovery imposed
   9 under the Federal or Local Rules at this time but reserves all rights to seek changes

  10 at a later date.

  11            Defendant believes this subject is appropriate to discuss at the conference in
  12 light of the discovery that has already been served in this case by Plaintiff.

  13            The parties do not anticipate issues regarding the disclosure or discovery of
  14 ESI at this time and are working together on a proposed protocol for preservation

  15 and possible future production of ESI.

  16            The parties will seek to use a stipulated protective order addressing
  17 confidential information and documents obtained during discovery and intend to use

  18 such order to address any potential issues regarding privilege or work product

  19 protection and special procedures to handle these issues after production.
  20            The parties agree that it would be appropriate in this particular case for the
  21 Court to enter an order directing that, before moving for an order relating to

  22 discovery, the movant must request a conference with the Court pursuant to this

  23 Court’s Civil Procedures.

  24 6. Related cases or proceedings: None.

  25 7. Proposed Deadlines:

  26
       2
  27   If an anti-SLAPP motion is denied, the defendant has a right of interlocutory
     appeal. Planned   Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress, 890 F.3d
  28 828, 832 (9th Cir. 2018).


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   1 Event                                         Plaintiff’s Proposal     Defendant’s Proposal
   2 Last Day to File Motion to Amend              Mon. April 15, 2019      TBD at future CMC
   3 Pleadings or Add Parties                                               (See Section 5.d
   4                                                                        supra.)
   5 Deadline for Defendant to file its                                     April 1, 2019
   6 anti-SLAPP motion

   7 Fact Discovery Completed                      Fri. August 9, 2019      July 26, 2019, on
   8                                                                        issues raised in
   9                                                                        Defendant’s anti-
  10                                                                        SLAPP motion only.
  11                                                                        This date may be
  12                                                                        extended if there is
  13                                                                        anti-SLAPP discovery
  14                                                                        motions practice.
  15 Deadline for Plaintiff to file its                                     August 5, 2019. This
  16 Opposition to the anti-SLAPP                                           date may be extended
  17 motion                                                                 as set forth above if
  18                                                                        there is anti-SLAPP
  19                                                                        discovery motions
  20                                                                        practice.
  21 Deadline for Defendant to file its                                     August 26, 2019. This
  22 Reply in support of the anti-SLAPP                                     date may be extended
  23 motion                                                                 as set forth above if
  24                                                                        there is anti-SLAPP
  25                                                                        discovery motions
  26                                                                        practice.
  27 Hearing on anti-SLAPP motion                                           September 16, 2019.
  28


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   1                                                                      This date may be
   2                                                                      extended as set forth
   3                                                                      above if there is anti-
   4                                                                      SLAPP discovery
   5                                                                      motions practice.
   6 Expert Disclosure (if any)                    Mon. Sept. 9, 2019     TBD at future CMC
   7 Produced                                                             (See Section 5.d
   8                                                                      supra.)
   9 Rebuttal Disclosure (if any)                  Wed. Oct. 9, 2019      TBD at future CMC
  10 Produced                                                             (See Section 5.d
  11                                                                      supra.)
  12 Expert Discovery Concluded                    Fri., Nov. 8, 2019     TBD at future CMC
  13                                                                      (See Section 5.d
  14                                                                      supra.)
  15 Last Day for Summary Judgment                 Wed. Dec. 4, 2019      TBD at future CMC
  16 Motions to Be Filed                                                  (See Section 5.d
  17                                                                      supra.)
  18 Last Day for Summary Judgment                 Wed. Jan. 8, 2020      TBD at future CMC
  19 Motions to Be Heard                                                  (See Section 5.d
  20                                                                      supra.)
  21 ADR Completed                                 Fri. Jan. 17, 2020     TBD at future CMC
  22                                                                      (See Section __ supra.
  23                                                                      The parties agree that
  24                                                                      the ADR completion
  25                                                                      deadline should be
  26                                                                      after resolution of the
  27                                                                      anti-SLAPP motion.)
  28


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   1 Filing of PTC Order, Jury                     Wed. Feb. 5, 2020      TBD at future CMC
   2 Instructions, and Other Trial                                        (See Section 5.d
   3 Documents                                                            supra.)
   4 Pretrial Conference and Hearing on            Wed. Feb. 12, 2020     TBD at future CMC
   5 Pretrial Motions                                                     (See Section 5.d
   6                                                                      supra.)
   7 Trial                                         Mon., March 2, 2020 TBD at future CMC
   8                                                                      (See Section 5.d
   9                                                                      supra.)
  10

  11 8.         Trial Procedure and Estimate:
  12            Plaintiff has requested a jury trial. The parties preliminarily estimate that a
  13 trial before a jury will last five to seven days.

  14            Defendant anticipates that, depending on whether third parties are later added
  15 to the case, it may be appropriate for the Court to order a separate trial of the claim

  16 against it pursuant to Federal Rule of Civil Procedure 42(b). In that event, its trial

  17 estimate might change.

  18            Defendant also anticipates that, should this case go to trial, it will request that
  19 evidence on the mercantile agency privilege proceed at the outset of the trial
  20 because it is a manageable issue that might, on the evidence, be the basis for

  21 judgment as a matter of law under Rule 50(a).

  22 9.         Settlement:
  23            The parties have engaged in settlement discussions, but despite the parties’
  24 efforts those conversations have not resulted in a settlement.

  25            Plaintiff would prefer to conduct alternative dispute resolution in this case
  26 with a referral to a Magistrate within the Central District, consistent with ADR
  27 Procedure No. 1. Defendant prefers ADR Procedure No. 1. In the event that neither

  28


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   1 option is available, the parties respectfully request that the Court direct this case to

   2 private mediation (ADR Procedure No. 3).

   3 10.        Manual for Complex Litigation:
   4            The parties do not believe that case is appropriate for use of the procedures
   5 for Complex Litigation.

   6 11.        Trial Counsel:
   7 Plaintiff’s Trial Counsel:

   8            Syverson, Lesowitz & Gebelin LLP
   9            Steven T. Gebelin Registered as ECF User
  10
                Email of Record: steven@syversonlaw.com
                Scott M. Lesowitz Registered as ECF User
  11            Email of Record: scott@syversonlaw.com
  12            8383 Wilshire Blvd, Suite 520
                Beverly Hills, CA 90211
  13

  14 Defendant’s Trial Counsel:

  15            BALLARD SPAHR LLP

  16            Ashley I. Kissinger, Registered as ECF User
                Email of record: kissingera@ballardspahr.com
  17            1225 17th Street, Suite 2300
  18            Denver, CO 80202

  19            Scott S. Humphreys, Registered as ECF User
  20            Email of record: humphreyss@ballardspahr.com
                2029 Century Park East, Suite 800
  21            Los Angeles, CA 90067
  22

  23 12.        Other Issues.

  24            Defendant’s Statement:

  25            In addition to the misuse of the discovery process described in Section 3.b.ii

  26 above, Defendant wishes to bring to this Court’s attention, with the hope they can be
  27 amicably resolved at the CMC on February 13, 2019, matters of serious concern

  28


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   1 relating to Plaintiff’s counsel’s misuse of social media in connection with this case.

   2 Specifically:

   3            (1)      One of Plaintiff’s counsel has been continuing to use LinkedIn as a tool
   4 to harass and intimidate Defendant and its employees. He has repeatedly “tagged”

   5 the company, and individual employees, by name in posts he makes on his own

   6 LinkedIn page, an act which sends a notification to them concerning the post. The

   7 posts reference a news article about this case and contain misleading statements

   8 about the Defendant’s business practices, and they appear to be designed to “taunt”

   9 Defendant and its employees and to solicit public responses about ongoing litigation

  10 from represented parties. Defendant’s counsel advised Plaintiff’s counsel that this

  11 appears to be a violation of California Rule of Professional Conduct 4.2 (prohibition

  12 against communications with represented persons). After several communications

  13 back and forth, it appears that Plaintiff’s counsel has “untagged” Dun & Bradstreet

  14 and its employees from all but one post at the time of this writing, in which Dun &

  15 Bradstreet remains “tagged.” While Dun & Bradstreet hopes that Plaintiff’s counsel

  16 will resolve this remaining issue, given Plaintiff’s counsel’s penchant for harassing

  17 both represented parties and non-parties alike, Dun & Bradstreet wishes to raise this

  18 issue with the Court to prevent any future motion practice with respect to these

  19 issues.
  20            (2)       That same Plaintiff’s counsel publicly posted to his LinkedIn page a
  21 confidential email communication that the undersigned sent to him in connection

  22 with this litigation. He did so even though (a) the email had the word

  23 “Confidential” in bold at the top; and (b) the undersigned expressly advised

  24 Plaintiff’s counsel that she strongly objected to Plaintiff’s counsel posting the email

  25 on LinkedIn in direct response to his specific inquiry as to whether she so objected.

  26            This behavior falls short of the professionalism and civility expected of
  27 California attorneys as set forth in various rules and guidelines. It is also

  28 prejudicing Defendant in this case, as it is being put to significant burden and


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   1 expense in responding to these behaviors – including addressing as many as four

   2 emails in a day containing separate threats and demands – on a near daily basis

   3 instead of attending to the important task of preparing its dispositive anti-SLAPP

   4 motion. Indeed, this is the same kind of behavior that required Defendant to file an

   5 ex parte application for a three-week extension of time to respond to the Complaint

   6 in this action; an ex parte application that the Court granted over Plaintiff’s

   7 objection that the extension request was intended “to cause as much delay as

   8 possible,” which the court found was “unsupported, unconvincing, and profoundly

   9 discourteous.” (Dkt. No. 13.) It is also the same type of behavior that required

  10 Defendant to negotiate a stipulation to strike from the public record patently

  11 improper material that Plaintiff filed in support of its opposition to the ex parte

  12 application. (See Dkt. Nos. 14-15.)

  13            Defendant sincerely hopes that, with the Court’s assistance, the parties can
  14 resolve these issues at the February 13, 2019 conference, as well as the discovery

  15 issues discussed above, amicably and without motion practice. To enhance the

  16 prospects for achieving this goal, Defendant respectfully requests that the Court

  17 enter an order, pursuant to Fed. R. Civ. P. 16(c)(1), ordering that all counsel of

  18 record appear in person at the February 13, 2019 conference or, at a minimum, that

  19 both parties have at least one attorney present who is authorized to make stipulations
  20 and binding representations about all of the matters discussed above.

  21            Plaintiff’s Response:
  22            As an initial matter, Plaintiff opposes Defendant’s attempt to seek
  23 inappropriate relief through its portions of this joint statement of the discovery plan,

  24 rather than through appropriate motions. Plaintiff vigorously disagrees with

  25 Defendant’s characterization of the litigation and discovery efforts of Plaintiff’s

  26 counsel in this case, including its informal discovery gathering.
  27            First, the discovery served to date is completely appropriate to the issues in
  28 this case and in fact is largely directed to the very issues that Defendant claims it


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   1 will use as the basis for an anti-SLAPP motion - the applicability of a qualified

   2 privilege to Defendant’s defamatory statements. Indeed, Defendant and its counsel

   3 of record indicated on November 21, 2018 that Defendant was “prepared to

   4 immediately file an anti-SLAPP motion pursuant to California Code of Civil

   5 Procedure § 425.16” if this case were filed. Rather than “immediately” do so,

   6 Defendant avoided Plaintiff’s efforts to hold a Rule 26(f) conference, such that

   7 Defendant finally agreed to hold it six weeks after Plaintiff’s first request to

   8 schedule it. Defendant now seeks to indefinitely avoid the appropriate discovery

   9 sought by Plaintiff. Plaintiff’s current plans to to seek discovery from third parties

  10 that are actively investigating and performing due diligence on Defendant as part of

  11 a buyout (after Defendant has publicly disclosed this lawsuit as an issue in its

  12 securities filings) are not improper, and are in part the result of Defendant’s ongoing

  13 resistance to participate in legitimate discovery procedures.

  14            Second, Plaintiff’s counsel’s use of LinkedIn both as an informal
  15 investigatory method for researching claims regarding Defendant and for making

  16 posts related to the conduct of this case has not been improper. Indeed, that have

  17 been no communications between Plaintiff’s counsel and any employee or officer of

  18 Defendant. Instead, and despite Plaintiff’s counsel’s disagreement that “tags”

  19 linking to Defendant’s LinkedIn profile are communications with a represented
  20 party (rather than the online equivalent of publishing a statement to the general

  21 public including Defendant’s full corporate name), Plaintiff’s counsel removed all

  22 such linking “tags” from his LinkedIn posts. While Defendant professes to have

  23 acted within the scope of its own free speech rights in this case, Defendant’s counsel

  24 now seeks to restrict the free speech rights of Plaintiff and his counsel without any

  25 legal basis, in a manner that would be to the detriment of the efficient litigation of

  26 this case.
  27            Finally, Defendant’s claims of “harassment” are baseless, especially to the
  28 extent they are based on Plaintiff’s counsel publicizing an email from Defendant’s


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   1 counsel that had no settlement offer from Defendant and no confidential

   2 information within it at all (or even a veiled reference to confidential information),

   3 and instead threatened to sue Plaintiff’s counsel. Counsel receiving up to four

   4 emails in one day regarding a given case is not harassment. Nor was Plaintiff’s

   5 opposition to the request for an extension of time to respond to the Complaint

   6 harassment; neither was Plaintiff’s prompt agreement stipulate to strike a portion of

   7 the filing in that opposition to which Defendant subsequently objected.

   8            Regardless of the impropriety of the request made by Defendant, Plaintiff’s
   9 counsel will comply with local rules requiring lead trial counsel to appear at the

  10 scheduling conference.

  11

  12 DATED: February 6, 2019                       Respectfully submitted,
  13                                               SYVERSON, LESOWITZ & GEBELIN LLP
  14 Pursuant to L.R. 5-4.3.4, the filer

  15 attests that all other signatories
                                                   By:     /s/ Steven T. Gebelin
                                                           Erik S. Syverson
  16 listed, and on whose behalf the                       Steven T. Gebelin
  17 filing is submitted, concur in the                    Scott M. Lesowitz

  18 filing’s content and have                     Attorneys for Plaintiff Dr. Jonathan C. Ellis
  19 authorized the filing
  20

  21 DATED: February 6, 2019                       BALLARD SPAHR LLP
  22

  23                                               By:           /s/
  24                                                       Ashley I. Kissinger
                                                           Scott S. Humphreys
  25

  26                                               Attorneys for Defendant Dun & Bradstreet, Inc.

  27

  28


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